Case 1:24-cv-01386-JLH   Document 1-7   Filed 12/17/24   Page 1 of 4 PageID #: 70




                   EXHIBIT G
11/4/24, 3:14 Case
              PM   1:24-cv-01386-JLH                     Document 1-7
                                                                   Mixtiles -Filed   12/17/24
                                                                              Photo Tiles             Page 2 of 4 PageID #: 71
                                                                                          on the App Store


    App Store Preview

                                                   This app is available only on the App Store for iPhone and iPad.


                                                                        Mixtiles - Photo Tiles 4+
                                                                        Picture Frames & Wall Prints
                                                                        Mixtiles Ltd
                                                                                 4.9 • 109.6K Ratings

                                                                        Free




          Screenshots           iPhone     iPad




          Stunning Photo Walls Made Easy

          Stunning Photo Walls Made Easy
          • Stickable photo tiles
          • Magnetic hanging system                                                                                            more




          What’s New                                                                                                  Version History
          Version 8.0.2
          What's New in Version 8.0

          New Tile Styles: Check out our fresh wide frame and canvas options!
          More Tile Sizes: Find the perfect fit with our new size options.
          Improved UI: Enjoy a smoother, more user-friendly experience with better design.

          Update now to enjoy these cool updates and an easier app experience!




          Ratings and Reviews                                                                                                 See All



          4.9out of 5                                                                                                 109.6K Ratings




https://apps.apple.com/us/app/mixtiles-photo-tiles/id583099157                                                                          1/3
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                                                                    Mixtiles -Filed   12/17/24
                                                                               Photo Tiles             Page 3 of 4 PageID #: 72
                                                                                           on the App Store



             Manal Morsy, 01/27/2019                            Sydnus, 09/06/2018

             Nice but limited                                   A great way to get the pictures you l…
             The customer service team are very                 I love my mixtiles. It’s great for someone
                                                                                                      more
             good at responding to ones questions
             and emails - the produced final product            Developer Response,
             is good quality for the price paid - amore
                                                  a             I'm sorry about that badly cropped more




          App Privacy
                                                                                                                                                  See Details
          The developer, Mixtiles Ltd, indicated that the app’s privacy practices may include handling of data as described below. For more information, see
          the developer’s privacy policy.




                                                                       Data Used to Track You
                                   The following data may be used to track you across apps and websites owned by other companies:

                    Purchases                                                              Contact Info

                    Identifiers                                                            Usage Data




                                                                         Data Linked to You
                                                     The following data may be collected and linked to your identity:

                    Purchases                                                              Financial Info

                    Contact Info                                                           User Content

                    Identifiers                                                            Usage Data

                    Diagnostics



          Privacy practices may vary, for example, based on the features you use or your age. Learn More




          Information
          Seller
          Mixtiles Ltd

          Size
          90.2 MB

          Category
          Photo & Video

          Compatibility
          iPhone
          Requires iOS 15.0 or later.

          iPad
          Requires iPadOS 15.0 or later.

          iPod touch
          Requires iOS 15.0 or later.

          Apple Vision
          Requires visionOS 1.0 or later.




https://apps.apple.com/us/app/mixtiles-photo-tiles/id583099157                                                                                                  2/3
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                                                                         Mixtiles -Filed   12/17/24
                                                                                    Photo Tiles             Page 4 of 4 PageID #: 73
                                                                                                on the App Store
          Languages
          English

          Age Rating
          4+

          Copyright
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          Price
          Free




          App Support 
          Privacy Policy 



          Supports
                     Wallet
                     Get all of your passes, tickets, cards, and more in one place.




          More By This Developer




          Around: Home                Real - Authentic
          Décor by Mixtiles           People
          Shopping                    Lifestyle




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          Tiles                       Photo Books                  Photo & Video            Photo Albums
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